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IN THE UNITED sTATEs DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE yer F_§_,q
wEsTERN DIvISIoN “'

 

 

UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 05-20046“Ml

CARLOUS BENTON
Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on May 27, 2005, the United States
Attorney for this district, Greg Gilluly, appearing for the Government
and the defendant, Carlous Benton, appearing in person and with counsel,
Randall Salky, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea cf guilty to Count l Of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, JULY 7, 2005, at 8:45
a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the 3 7 day of May, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT COURT

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20046 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

Randall P. Salky

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Honorable J on McCalla
US DISTRICT COURT

